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       Case 1:15-cv-11631-WGY            (ourt
                              Document 8 Filed 04/29/15 Page 1 of 24
            Case 1:15-cv-1163 -WGY Document 1 Filed 04/17/15 Page 1 of 3

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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS
                                                                                                     I
                                                             CIVIL ACTION NO.          {.s- c.v- I { 6 ~ I
ULYSSES PENA,
          Plaintiff,

v.

BOSTON POLICE DEPARTMENT,
BOSTON POLICE OFFICER SEAL"/"
SCANNELL, BOSTON POLICE                                                       ~C=Ig:utr
CANINE HANZ, BOSTON POLICE                                                          F I LED
SERGEANT SEAN SMITH, BOSTON
                                                                                APR 24 2015
POLICE CANINE UNIT,
           Defendants.
                                                                            MICHAEL JOSEPH DONOVAN
                                                                                     CLERK OF COURT
                                  NOTICE OF REMOVAL
                              (pURSUANT TO 28 U.S.c. § 1441)

       The Defendants, Boston Police Department, Boston Police Canine Unit, Sean Scannell,

Canine Hanz, and Sean Smith, through undersigned counsel, hereby give notice of the removal

of this action pursuant to 28 U.S.c. § 1441 from the Suffolk Superior Court, where this action is

currently pending. In Superior Court, the case is docketed as Civil Action No. 2015-00716 and

has the same caption as above.

       In support of this Notice of Removal, the Defendants state:

       I.      The action appears to be grounded in the laws and Constitution of the United

States of America. The Plaintiff alleges that the Boston Police Department as well as Officer

Scannell and Sargent Smith violated his civil rights. See Plaintiffs Summons and Complaint

(attached as Exhibit A). Plaintiffs Complaint appears to allege violations of his rights under the

Fourth and Fourteenth Amendments for arrest "without justification", excessive force, and

discriminatory policies ofthe Boston Police Department. Id.
       Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 2 of 24
             Case 1:15-cv-11631-WGY Document 1 Filed 04/17/15                 Page 2 of 3




        2.      Accordingly, the Plaintiff's claims for relief arise under the Constitution, treaties,

or laws of the United States.           Therefore, this action is subject to removal under

28 U.S.c. § 1441(b).

       3.       Although Plaintiff also cites the Massachusetts Declaration of Rights and the

Massachusetts Tort Claims Act c. 258 §4, a fair reading of Plaintiffs Complaint as a whole

makes it apparent that federal constitutional law and issues are essential to this case, and

therefore Defendants have a statutory right to remove this action.

       4.       This notice of removal has been filed within thirty (30) days from service of

Plaintiffs complaint upon the Defendants. See Exhibit A.

       5.       At this time, Officer Scannell's and Sargent Smith's requests to the Police

Commissioner for representation, per City of Boston policy, are still pending. Therefore at this

time Assistant Corporation Counsel Katherine N. Galle's appearance on behalf of Scannell and

Smith is limited only to the filing of this Notice of Removal.
      Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 3 of 24
            Case 1:15-cv-11631-WGY Document 1 Filed 04/17/15 Page 3 of 3




                                                Respectfully submitted,
                                               BOSTON POLICE DEPARTMENT,
                                               BOSTON POLICE CANINE UNIT,
                                               CANn'J"E HANZ, SEAN SCANNELL,
                                               and SEAN SMITH

                                             By its attorney,
                                             Eugene L. O'Flaherty
                                             Corporation Counsel


                                             /s/ Katherine N. Galle
                                             Katherine N. Galle (BBO# 691660)
                                             Assistant Corporation Counsel
                                             City of Boston Law Department
                                             City Hall, Room 615
                                             Boston, MA 02201
                                             (617) 635-4097
                                             Katherine.Galle@boston.gov



                               CERTIFICATE OF SERVICE

      I, Katherine N. Galle, hereby certify that on this date I served a copy of the foregoing
document via U.S. mail to the Plaintiff acting pro se at:

       Ulysses Pena (1063571)
       Plymouth County Correctional Facility
       26 Long Pond Road
       Plymouth, MA 02360



4/17/2015                             /s/ Katherine N. Galle
Date                                  Katherine N. Galle

  I HEREBY ATTEST AND CERTIFY ON

  April 27, 2015       ,THAT THE
  FOREGOING DOCUMENT IS A FULL,
  TRUE AND CORRECT COpy OF THE
  ORIGINAL ON FILE IN MY OFFICE,
  AND IN MY LEGAL CUSTODY.

             MICHAEL JOSEPH DONOVAN
             CLERK I MAGISTRATE
             SUFFOLK SUPERIOR CIVIL COURT
              EPARTMENT OF THE TRIAL COURT

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                                                      SUCV2015-00716
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 File Date    03/13/2015                    Status        Disposed: transfered to other court (dtrans)
 Status Date 04/27/2015                     Session       G - Civil G, 3 Pemberton Square, Boston
 Origin       1 - Complaint                 Case Type     E96 - Prisoner Cases
 Track        F - Fast track                Lead Case                                                        Jury Trial   No


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                                                                                                                                     i

 Plaintiff
 Ulysses Pena, #63571
 Plymouth County Corr, Facility
 26 Long Pond Rd
 Plymouth, MA 02360
 Active (prisoner) 03/16/2015 Notify




 Defendant                                                                  Private Counsel 691660
 Sean Scanell, Boston Police Officer                                        Katherine Galle
 Service pending 03/13/2015                                                 Boston (City of) Law Dept
                                                                            1 City Hall Plaza
                                                                            Room 615
                                                                            Boston, MA 02201
                                                                            Phone: 617-635-4034
                                                                            Fax: 617-635-6199
                                                                            Active 04/27/2015 Notify


 Defendant                                                               *** See Attorney Information Above ***
  Hanz, Boston Police Canine handled by Sean
 Scannell
 Service pending 03/13/2015




 Defendant                                                               *** See Attorney Information Above ***
 Sean Smith, Boston Police Officer
 Service pending 03/13/2015




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'MASXP-20110425           Case 1:15-cv-11631-WGY Document
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                                                                    SUCV2015-00716
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 I Defendant      . -----­                                                     *** See Attorney Information Above ***
      Boston Police Department
     Service pending 03/13/2015




     Defendant                                                                 *** See Attorney Information Above ***
      Boston Police Canine Unit
     Service pending 03/13/2015




bate              Paper      Text
03/13/2015        1.0        Affidavit of indigency and Request for Waiver, substitution or state
!
                             payment of normal fees & costs, allowed subject to review by Judge
                             (IMPOUNDED)
03/13/2015       2.0         Complaint
!
f3/13/2015                   Origin 1, Type E96, Track F.
P3/13/2015       3.0         Civil action cover sheet filed (n/a)
P3/13/2015       4.0         Plaintiff Ulysses Pena's MOTION for appointment of counsel
03/13/2015       5.0         Motion of Plaintiff for service by First Class Mail.
,03/16/2015      6.0         ORDER TO COUNTY SHERIFF TO PROVIDE CERTAIN INFORMATION REGARDING
I,                           INMATE ACCOUNT RELATIVE TO PLAINTIFF'S MOTION TO WAIVE FILING FEE AND
I                            PROCEED IN FORMA PAUPERIS -- The plaintiff in the above-captioned
                             action has filed a motion to waive the filing fee and court costs
                             (normal) and to proceed in forma pauperis. Pursuant to G.L. c261 s29,
                             the correctional facility where the prisoner is currently
                             incarcerated shall file a document showing the current status of the
                             plaintiffs canteen account and savings account, if any, and the
                             account activity for the past six (6) months. The document shall be
                             filed within thirty (30) days of the date of this order. The
                             statement is to be mailed to: SUFFOLK SUPERIOR COURT, CIVIL CLERK'S
                             OFFICE, PRISONER DEPARTMENT, ROOM 1203, THREE PEMBERTON SQUARE,
                             BOSTON, MA. 02108. By the Court, (Robert L. Ullmann, Justice) Notice
                             Sent 03/16/2015
0311612015       7.0         ORDER: After a review of your petition and correspondence, the Court
                             has instructed the Clerk's Office to take the following action:
                             Service is to be made upon defendants by means of certified mail at
                             the plaintiffs expense, and you must return to the court the
                             original summons with the return receipt card for each defendant.
                             (Robert L. Ullmann, Justice) Notice Sent 03/16/2015
 03/16/2015                  Five summonses mailed to plaintiff this day

case01 332927 Y YY YY Y                                                                                                 Page 2 of 3
• MASXP-20110425      Case 1:15-cv-11631-WGY Document
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                                                     of Massachusetts                          04/27/2015
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                                                    SUCV2015-00716
                              . Pe-'''I~Lt#63571_" S_caneU,J~oston Pollee Officeret al_
Date          Paper    Text
03/16/2015             On 03/16/2015, Order P#6 sent to INMATE ACCOUNTS, PLYMOUTH COUNTY
                       CORRECTIONAL FACILITY, requesting a canteen account for (6) months
03/30/2015             Motion (P#4) DENIED. There is no entitlement to counsel in civil
                       cases. (Robert L. Ullmann, Justice) Notices mailed 03/30/2015
.04/03/2015   8.0      ORDER: NOTICE OF WAIVER OF COURT COSTS AND REQUEST FOR PAYMENT TO BE
                       WITHDRAWN FROM ACCOUNT (PURSUANT TO G.L. c. 261 sec. 29) The
                       prisoner/plaintiff in the above-captioned action has filed a motion
                       to waive the filing fee of $275.00 and court costs (normal) and to
                       proceed in forma pauperis. After reviewing the affidavit of indigency
                       and the statement of inmate account provided by the correctional
                       facility, the court hereby orders: The plaintiff is ordered to pay a
                       lump-sum payment of $25.00 in order to proceed. The court further
                       finds that requiring additional installment payments would create an
                       undue administrative burden for the court. The prisoner's name and
                       case number MUST be noted on each remittance. Payment is to be made
                       by way of check or money order payable to the Suffolk Superior Court
                       Clerk by 05/04/2015. Payment should be mailed to: SUFFOLK SUPERIOR
                       COURT, CIVIL CLERK'S OFFICE, PRISONER DEPARTMENT, ROOM 1203, THREE
                       PEMBERTON SQUARE, 12TH FLOOR, BOSTON, MA. 02108. By the Court (Robert

I
                       L. Ullmann, Justice) Notice Sent 04/03/2015
b4/03/2015             Motion (P#5) Denied. Plaintiff shall serve defendants by CERTIFIED
                       MAIL as set forth in this Court's order, Paper #7, dated 03/16/2015
                       (Robert L. Ullmann, Justice) Notice Sent 04/03/2015
04/24/2015             Copy of Petition for Removal to US Dist Court of defendants(US Dist
                       #15-cv-11631 )
b4/27/2015             CASE REMOVED THIS DATE TO US DISTRICT COURT OF MASSACHUSETTS



                               I HEREBY ATTEST AND CERTIFY ON
                              April 27, 2015        ,THATTHE
                               FOREGOING DOCUMENT IS A FULL,
                               TRUE AND CORRECT COpy OF THE
                               ORIGINAL ON FILElN MY OFFICE,
                               AND IN MY LEGALCUSTODY.

                                           MICHAELJOSEPH DONOVAN
                                           CLERK / MAGISTRATE
                                           SUFFOLK SUPERIOR CIVILCOURT


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                                          }~~PARTMENT OF TI1E TRIAL CO~RJ



                                        Asst. Clerk




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         Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 7 of 24
                          Commonwealth of Massachusetts
                                         County of Suffolk
                                        The Superior Court

                                                     CIVIL DOCKET#: SUCV2015-00716-G


RE:     Pena, #63571 v Scanell, Boston Police Officer et al

TO:     Ulysses Pena, #63571
        Plymouth County Corr. Facility
        26 Long Pond Rd
      . Plymouth, MA 02360




                                 NOTICE OF DOCKET ENTRY

You are hereby notified that on 03/13/2015 the following entry was made on the above
referenced docket:

      Affidavit of indigency and Request for Waiver, substitution or state payment
of normal fees & costs, allowed subject to review by Judge (IMPOUNDED)
Dated at Boston, Massachusetts this 16tl1 day of March,
2015.

                                                                  Michael Joseph Donovan,
                                                                        Clerk of the Courts

                                                                        BY: Timothy Walsh
                                                                            Assistant Clerk


Telephone: 617-788-8121

       I HEREBY ATIEST AND CERTIFY ON
       April   27, 2015    ,THAT THE
       FOREGOING DOCUMENT IS A FULL,
       TRUE AND CORRECT COpy OFTHE
       ORIGINALON FILE IN MY OFFICE,
       AND IN MYLEGALCUSTODY.

                MICHAELJOSEPH DONOVAN
                CLERK / MAGISTRATE
                SUFFOLK SUPERIOR CIVILCOURT
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Disabled individuals who need handicap accommodations should contact the Administrative Office
of the Superior Court at (617) 788-8130 cvdgeneriU.wpd 4651650 affind hegartym
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Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 11 of 24



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Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 13 of 24
                                                                       TRIALCOURT OFMASSACHUSms
       CIVIL ACTION COVER SHEET
                                                          COUNTY OF
                                                                      SUPERIOR COURT DEPARTMENT                        DOCKET NO.
                                                                                                                                            15-0716
       PLAINTIFF(S)




                                                                                             "Fype-Befendimt's Attomey Name             - --­     - -­        -      - ­
       Plaintiff Atty
                                                     I Defendant Atty I
       Address      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Address r l - - - - - - - - - - - - - - - -_


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       The following is a full, itemized and detailed statement of the facts on which plaintiff relies to determine
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                                              (Attach additional sheets as necessary)
       A. Documented medical expenses to date:
                1. Total hospital expenses                                                                       $ l'2 1- I~!  ' a;:>c"
                2. Total doctor expenses                                                                         $            ,
                3. Total chiropractic expenses                                                                   $
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                5. Total otlier expenses describe)                                                               $
                                                                                                     Subtotal $
       B. Documented lost w~es and comfcensation to date                                                         $
       C. Documented prope            damages 0 date                                                             $
       D. Reasonably anticIpated future medical expenses                                                         $
       E. Reasonably antic~ated lost wages and coms:nsation to date                                              $
       F. Other documente items of damages (descri e)
                                                                                                                                            $
       G. Brief description Of plaintiff=s injury, including nature and extent of injury (describe)
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                                                   CONTRACT CLAIMS
                                            (Attach additional sheets as necessary)
       Provide a detailed description of claimts):


                                                                                                                                        TOTAL             $ ...............
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       PLEASE IDENTIFY, BY CASE NUMBER, NAME AND COUNTY, ANY RELATED AcrION PENDING IN THE SUPERIOR
       COURT DEPARTMENT

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       Role 1:18) reqoiring that I provide my clients with iof~atioo about court-cenneeted dispote resolotioo services and discusswitb Ibem the

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                            MICHAEL JOSEPH DONOVAN
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                        L   DEPARTMENT OFTHE TRIA. COURT
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                      Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 14 of 24
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     Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 15 of 24
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             NOTICE SENT:    04/03/2015   (ah)
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                             DAU:                               :W (;',3571

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                                                  Commonwealth of Massachusetts
         Case 1:15-cv-11631-WGY Document 8 County
                                           Filed 04/29/15
                                                  of Suffolk Page 16 of 24                                                6
                                                             The Superior Court

                                                                                CIVIL DOCKET#: SUCV2015-00716

                         Ulysses Pena, #63571,
                                            Plaintiff(s)
                               vs.
                         Sean Scanell, Boston Police Officer, Hanz, Boston Police Canine handled by Sean
                         Scannell, Sean Smith, Boston Police Officer, Boston Police Department, Boston Police
                         Canine Unit,
                                            Defendant(s)

                          Mr. Ulysses Pena, #63571
                          Plymouth County Correctional Facility
                          26 Long Pond Road
                          Plymouth, Ma,. 02360



                                 ORDER TO COUNTY SHERIFF TO PROVIDE CERTAIN INFORMATION
                                               REGARDING INMATE ACCOUNT
                                    RELATIVE TO PLAINTIFF'S MOTION TO WAIVE FILING FEE
                                             AND PROCEED IN FORMA PAUPERIS

                                 The plaintiff in the above-captioned action has filed a motion to waive the filing fee

                         and court costs (normal) and to proceed in forma pauperis.

                                 Pursuant to G.L. c261 s29, the correctional facility where the prisoner is currently

                         incarcerated shall file a document showing the current status of the plaintiff's canteen

                         account and savings account, if any, and the account activity for the past six (6) months.

                        The document shall be filed within thirty (30) days of the date of this order. The statement

                        is to be mailed to:

                        SUFFOLK SUPERIOR COURT
                        CIVIL CLERK'S OFFICE
                        PRISONER DEPARTMENT, ROOM 1203
                        THREE PEMBERTON SQUARE
                        BOSTON, MA. 02108

                        Dated at Boston, Massachusetts this 16th day of March, 2015.

                        NOTICE SENT:          03116/2015       (ah)       By the Court, (Robert L. Ullmann, Justice)
                        U.P.                  J.D.M.
                        (PRO SE)              SHERIFF
                                                                                 ,/

I HEREBY ATIEST AND CERTIFY ON                                               BY':==-·---~~~~~t...£.L~~2.!..::::.:::""
April 27, 2015      ,THAT THE
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AND IN MY LEGALCUSTODY.

         MICHAELJOSEPH DONOVAN
         CLERK f MAGISTRATE
         SUFFOLK SUPERIOR CIVILCOURT
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                   Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 17 of 24
• r   .
                                                             COMMONWEALTH OF MASSACHUSETTS
                                SUFFOLK,    55.                                         SUPERIOR COURT
                                                                                        NO.  15-00716-G

                                                   PRISONER PETITIONS - CIVIL ACTION DISPOSITION SHEET

                                TO:                         ULYSSES PENA, #63571
                                ADDRESS:                    PLYMOUTH COUNTY CORRECTIONAL FACILITY
                                                            26 LONG POND ROAD
                                                            PLYMOUTH, MA. 02360
                                DATE:

                                After a review of your petition and correspondence, the Court has instructed the Clerk's Office to
                                take the following action:


                                (   )   (See attached Order)                             (      The correspondence is to be returned
                                                                                                to you because:
                                (v('    Service is to be made upon__~=          __
                                        defendant(s) by means 0 {certified)                     (    )    it fails to state a claim upon
                                        (. . . . .) mail by plaintiff! s .                                which relief can be granted.

                                (   )   A copy of the complaint is to be sent                   (   )     it is a duplication of your
                                        to the Office of the Attorney General                             pending case in this Court.
                                        or the Department of Corrections by
                                        the plaintiff(s).                                       (   )     it fails to comply with the
                                                                                                          procedural requirements of
                                (   )   a copy of the petition is to be sent to                           Mass. G.L. 258 (Mass. Tort
                                        the Mass. Correction Legal Service                                Claims Act) of providing six
                                        for review and report as to legal                                 months notice to the
                                        representation in this matter.                                    defendant prior to the filing
                                                                                                          of a complaint and
                                (   )   The trial date of this case will be                               specifically naming the
                                        scheduled by the Clerk's Office and                               Commonwealth as a
                                        you will be notified.                                             defendant.

                                (   )   The case is to be heard by the Court                    (   )     It fails to state that the proper
                                        on the basis of briefs and affidavits                             administrative remedies have
                                        only on                             _                             been exhausted.
                                        pursuant to the (plaintiff's)
                                        (defendant's) motion               _                    (   )     It is incomprehensible.

                               ( )
                                                                                         DATE:,_-->-.<.,t-<-..:::-,f-'--'=-­            _

                                        NOTICE SENT:         03/16/2015           (ah)
                                        U.P.­ (Pro Se)

                                        SUMMONSES, ETC. MAILED

          I HEREBY ATTEST ANDCERTIFY ON

          April 27, 2015       •THATTHE
          FOREGOING DOCUMENT IS A FULL,
          TRUEAND CORRECT COPYOF THE
          ORIGINALON FILE IN MY OFFICE.
          AND IN MY LEGAL CUSTODY.

                    MICHAELJOSEPHDONOVAN
                    CLERK I MAGISTRATE
                    SUFFOLK SUPERIOR CIVIL COURT
                , /~PARTMENT OF ~.E TRIAL C.?~R~

          B>l   ~~~
                Ass Clerk
                                    /J'.,p&-­
         Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 18 of 24




                           COMMONWEALTH OF MASSACHUSETTS

SUFFOLK, SS.                                                         SUPERIOR COURT



                                              NOTICE




                             RE:    CIVIL PRISONER COMPLAINTS


Your return ofservice must be in compliance with the Court's endorsement entered on your complaint

at the time of entry. If a complaint is to be served by certified mail, the return must be accompanied

Certified with Return Receipt Card. Ifthe receipts are unavailable, the return should be accompanied

by Affidavit of Service stating that the complaint was served by certified mail. Additionally, all

documents filed in Court must contain an original signature. Failure to comply with these rules will

result in the returning of documents.




                                                             Assistant Clerk



DATE:
•         Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 19 of 24



                               COMMONWEALTH OF MASSACHUSETTS

     SUFr-OLK, SS.                                                        SUPERIOR COURT




                       SPECIAL AMENDMENT TO SUPERIOR COURT RULE 9A
                                  FOR INMATE CIVIL CASES




    Inmates who have Civil Cases pending in SuperiorCourt will. not be required to comply with the

    changes in Rule 9A which became effective in January, I990.That is, instead of "packaging" motions

    and responses thereto, as required by the amended Rule 9A, inmates may follow the old Rule 9A

    which allows direct mailing ofall motions and responses to the Clerk-Magistrate's Office. This Special

    Amendment will relieve inmates of the burden of packaging motions and responses, and also save

    them the cost of mailing said package to the Clerk's Office.




                                                          iiith Fa.bricant
                                                              ·_e,J.
                                                          Chief Justice of the Superior Court
Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 20 of 24




    Date --------~-------------
     Case to enter wlo fee. Plaintiff(s) to serve by certified mail, copy
     to Attorney General. Summonses sent to Plaintiff at no cost.
     Hearing set for



     (               )               ATI:                             _
                                            Assistant Clerk
   Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 21 of 24

                              COMMONWEALTH OF MASSACHUSETTS

 SUFFOLK, SS.                                                                 SUPERIOR COURT

                                    ADMINISTRATIVE DIRECTIVE 92-1

         This administrative directive is implemented to address the unique problems that often
 accompany a civil action that is filed by someone who is incarcerated. Its aim is to promote ajust and
 speedy resolution of these civil actions by ensuring:
                 1.      That upon filing, the complaint is entered expeditiously and appropriate notice
                         is sent.
                 2.      That all named parties receive actual notice of the litigation.
                 3.      That the cases proceed in a timely and cost effective manner.


        Accordingly, it is ordered that upon the filing,of the complaint, the Clerk is to pass upon the
sufficiency of the affidavit of indigency ( in almost all cases, the prisoner is indigent but has access
to limited funds) and if indigent, to authorize service of process by certified mail on all named
defendants - copy to the Attorney General. With notification of this action, the Clerk is to provide the
plaintiff with the appropriate number of blank summonses. It is the obligation of the plaintiff to
provide the requisite number of copies of the complaint and to complete the summons to perfect
service. In those rare instances wherein the plaintiff has no funds, (ex: not in the general population
of the prison), service may be authorized by regular mail and the Court is to provide the appropriate
number of blank summonses.
        With the notice of the Court's action, the plaintiff is also to be notified of what is required in
filing a return of service and of the waiving ofthat part of Superior Court Rule 9A which requires the
packaging of motions and responses thereto.
        When a complaint filed by an inmate requires other that money damages, the complaint is to
be reviewed by a justice for whatever action he or she deems appropriate. For example, it is the
discretion ofthe justice to decide a requisite for a preliminary injunction upon the submissions and not
the presence of the inmate.
       This administrative directive is to take effect fl=[orth~ith..   bri     t
                                                          JudI     Fa neaL.
                                                                              .Iib.   J.
                                                         Chief Justice of the Superior Court
Dated: May I, 1992
            Case 1:15-cv-11631-WGY Document
                          Commonwealth      8 Filed 04/29/15 Page 22 of 24
                                        of Massachusetts
                                           County of Suffolk
                                          The Superior Court                                                  8
                                                                    CIVIL DOCKET#: SUCV2015-00716
                                                                              .4(
                                                                          ,   "



 Ulysses Pena, #63571,

 vs
               Plaintiff( s)                                 a1UrllY
 Sean Scanell, Boston Police Officer, Hanz, Boston PoJice Canine handled by Sean Scannell, Sean
 Smith, Boston Police Officer, Boston Police Department, Boston Police Canine Unit,
               Defendant(s)



                     NOTICE OF WAIVER OF COURT COSTS AND REQUEST
                      FOR PAYMENT TO BE WITHDRAWN FROM ACCOUNT
                             (PURSUANT TO G.L. c. 261 sec. 29)

         The prisoner/plaintiff in the above-captioned action has filed a motion to waive the filing fee of
 $275.00 and court costs (normal) and to proceed in forma pauperis. After reviewing the affidavit of
 indigency and the statement of inmate account provided by the correctional facility, the court hereby
 orders:
         The plaintiff is ordered to pay a lump-sum partial payment of $25.00 in order to proceed. The
         court further finds that requiring additional installment payments would create an undue
         administrative burden for the court.

 The prisoner's name and case number must be noted on each remittance. Payment is to be made by
 way of check or money order payable to the Suffolk Superior Court Clerk by 05/04/2015. Payment
 should be mailed to
                              Suffolk Superior Civil Clerk's Office
                                    Suffolk Superior Court
                                     PRISONER DEPARTMENT, ROOM 1203
                                       Three Pemberton Square
                                          Boston, MA 02108



                                                             By the Court (Robert L. Ullmann, Justice)
Dated: 04/03/2015

NOTICE SENT:        04/03/2015       (ah)
U.P.- (Pro Se)
                  I HEREBY ArrEST AND CERTIFY ON

                 April 27, 2015        ,THAT THE
                  FOREGOING DOCUMENT IS A FULL,
                  TRUE AND CORRECT COPY Of THE
                  ORIGINAL ON FILE IN MY OFFICE,
                  AND IN MY LEGAL CUSTODY.

                             MICHAEL JOSEPH DONOVAN
                             CLERK I MAGISTRATE
                             SUFFOLK SUPERIOR CIVIL COURT
                         /.J':DEPARTMENT OF THE TRIAL ~U~J

                          fLt-d:             -         /
                        Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 23 of 24


                                          Plymouth County Correctional Facility
                             Account#:
                             Account Name:
                                          63571
                                                 PENA, ULYSSES CARLOS                          /~-           o?/ b
                                                                                                   ~
                                                                                              ~,~c, ' _ ,
                             Account Type:       I     INMATE CANTEEN ACCOUNTS
                                   SSN:       XXX-XX-XXXX            Indigent:     No


Post.       Post.
                                                       Account History Report                   ( 4'ZV/     v
Date        Time Type Trans. #        Ref. #         FromlTo                     Amount         ~atch 10
                                                                                            Balanc

2015/03113 12:21 CNTN 3196566         95064      OlD: I00628223-Comisar           -$27.25     $81.70 21402308 Purch20 1503 13121625
                                                 yPurch-Re
2015/03/10 14:38 DPMO 3195722         2256793937 DULCE PENA                       $80.00     $108.95 21402308 3/lO/15MAIL
2015/03/06 11:22 CNTN 3194142         94803     OlD: 100627355-Comisar            -$31.52     $28.95 21402308 Purch201503061 I 1358
                                                yPurch-Re
2015/02/27 13:41 CNTN 3191648        94605      OlD: 100626521-Comisar            -$27.54     $60.47 21402308 Purch20150227 133042
                                                yPurch-Re
2015/02/20 17:14 DPMO 3190211        2256793218 D PENA                            $70.00      $88.01   21402308 2/20/15MAIL2
2015/02/20 13:37 CNTN 3189299        94350      OlD: 100625779-Comisar            -$19.89     $18.01   21402308 Purch20150220133024
                                                yPurch-Re
2015/02/19 11:24 CNTN 3188664        94310      OlD: 100625068-Comisar             $1.17     $37.90 21402308 Purch20150219112340
                                                yRefund-R
2015/02/13 10:04 CNTN 3187031        94137      OlD: 100625068-Comisar            -$23.16    $36.73 21402308 Purch20150213095617
                                                yPurch-Re
2015/02/11 15:31 DPMO 3186383        2246999255 DULCE PENA                        $50.00     $59.89 21402308 2/1 III SMAIL
2015/02/06 13:43 CNTN 3184774        93941      OlD: 100624335-Comisar           -$25.98       $9.89 21402308 Purch20150206133802
                                                yPurch-Re
2015/02/02 09:50    CNTN 3182529     93726      OlD: 100623485-Comisar           -$23.03     $35.87 21402308 Purch20150202094131
                                                yPurch-Re
2015/01123 12:10 CNTN 3180492        93572      OlD: 100622756-Comisar           -$28.14     $58.90 21402308 Purch20150123120551
                                                yPurch-Re
2015/01/16 10:03 CNTN 3178245        93397      OlD: 100621903-Comisar           -$23.10     $87.04 21402308 Purch20150116095800
                                                yPurch-Re
2015/01/09 11:56 CNTN 3176082        93164      OlD: 100621431-Comisar           -$32.73    $110.14 21402308 Purch20150109114215
                                                yPurch-Re
2015/01/05 15:58 DPCA 3174945        2232266968 DULEE PENA                        $50.00    $142.87 21402308 liS/ISMAIL
2015/01/02 10:40 CNTN 3173617        92901      OlD: 100620588-Comisar           -$37.02     $92.87 21402308 Purch20150102103022
                                                yPurch-Re
2014/12/30 16:53 DPMO 3172655        2246997745 D PENA                            $50.00    $129.89 21402308 12/30/14MAIL
20J4l12!29 17:16 DPCA 3172314        501682          THOMASPENA                   $57.00     $79.89 21402308 12129/14AC4
2014/12/24 12:00 CNTN 3170893        92694      OlD: 100619604-Comisar           -$23.02     $22.89 21402308 Purch20141224115542
                                                yPurch-Re
2014/12/17 14:14 CNTN 3168142        92489      OlD: I00618891-Comisar           -$21.82     $45.91    21402308 Purch20141217140339
                                                yPurch-Re
2014/12/12 15:48 CNTN 3166118        92334      OlD: 1006181 02-Comisar          -$19.77     $67.73 21402308 Purch20141212154350
                                                yPurch-Re
2014/12/09 16: II   DPMO 3165212     2213667807 DULCE PENA                        $60.00     $87.50 21402308 1219/14MAIL
2014/12/05 13:27 CNTN 3163700        92060      OlD: 100617414-Comisar           -$22.25     $27.50 21402308 Purch20141205132000
                                                yPurch-Re
2014/11/26 13:38 CNTN 3160787        91797      OlD: 100616266-Comisar           -$25.35     $49.75 21402308 Purch20141126133123
                                                yPurch-Re
2014/11/21 16:44 DPMO 3159758        2233003319 D PENA                            $75.00     $75.10 21402308 11121114MAIL
2014/11/14 11:58 CNTN 3156436        91270           aID: 1006 I4400-Comisar     -$14.85      $0.10 21402308 Purch20141114115258
                                                     yPurch-Re
2014/11/07 13:53 CNTN 3153978        91102           OlD: 100613898-Comisar      -$18.35     $14.95 21402308 Purch20141107133835
                                                     yPurch-Re
2014/1 0/31 12:36 CNTN 3151184       90875           aID: 100612617-Comisar      -$17.57     $33.30 21402308 Purch2014103 1123 116
                                                     yPurch-Re
2014/10/24 13:41 CNTN 3148749        90657           aID: 100611891-Comisar      -$19.23     $50.87 21402308 Purch20141024133251
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                    Case 1:15-cv-11631-WGY Document 8 Filed 04/29/15 Page 24 of 24

                                                Account History Report
Post.       Post.
Date        Time Type                                                                           Booking
                        Trans. #   Ref. #      FromlTo                  Amount        Balance      #      Batch ID

                                              yPurch-Re
2014/10/21 13:42 DPMO 3147804      2232265260 0 PENA                     $70.00         $70.10 21402308 10/21/14MAIL
2014110/17 12:02 CNTN 3146430      90385      o ID: 100610912-Comisar     -$5.62         $0.10 21402308 Purch20141017115658
                                              yPurch-Re
2014110/10 12:03 CNTN 3143961      90161      o ID: 100609868-Comisar    -$18.55         $5.72 21402308 Purch20141010115550
                                              yPurch-Re
2014110103 13:18 CNTN 3141301      89919      OID: 100609166-Comisar     -$14.80        $24.27 21402308 Purch20141003131212
                                              yPurch-Re
2014/09/26 11:01   CNTN 3138757    89673      OID: 100608321-Comisar     -$31.78        $39.07 21402308 Purch20140926105246
                                              yPurch-Re
2014/09119 16:43 DPMO 3137167      2220851189 DULEE PENA                 $70.00         $70.85 21402308 9/19/14MAlL




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